Case 8:22-cv-00099-DOC-DFM Document 212 Filed 03/14/22 Page 1 of 2 Page ID #:3532



                                                                                             Charles Burnham, Esq.
                                                                                     charles@burnhamgorokov.com
                                                                             Licensed to practice in Virginia and the
                                                                                                District of Columbia




                                            March 14, 2022
      BY CM/ECF

      The Honorable David O. Carter
      Ronald Reagan Federal Building and United States Courthouse
      411 West Fourth Street
      Courtroom 9D
      Sana Ana, CA 92701-4516

             Re:     Eastman v. Thompson, 8:22cv00099

      Dear Judge Carter,

              In this Court’s January 26 minute order, this Court invited Plaintiff to “notify the
      Court of any issues he faces maintaining” the Court’s document production schedule.
      Pursuant to that invitation, Plaintiff respectfully requests a reasonable reduction in the
      daily production quota from 1500 to an appropriate number in the 750-1000 range. Our
      reasons are as follows.

               With the exception of the time period surrounding the recent briefing schedule,
      we have produced at least 1500 documents for each business day and in fact have
      produced 2,951 more than was required. We have either produced or claimed privilege
      for all the documents from January 4-7, 2021, the time period the defendants have
      identified as most critical.

              As previously represented to the Court, the daily privilege review is not
      something that can be delegated to an associate or paralegal because Dr. Eastman is the
      only one with the necessary background knowledge to assess the privileged nature of the
      documents. Although the time required to review 1500 documents varies based on the
      nature of the material, Dr. Eastman reports that it has at times taken up to 10 hours per
      day.

             In addition to his employment as a scholar with the Claremont Institute, Dr.
      Eastman maintains an active law practice. Maintaining the daily review schedule along
      with these professional responsibilities has at times created a significant hardship.
Case 8:22-cv-00099-DOC-DFM Document 212 Filed 03/14/22 Page 2 of 2 Page ID #:3533




            If the 1500 per day schedule were to be maintained, the review would be
      completed by April 6. If this Court were to reduce the number to 750, the review would
      be completed at latest by May 6. At 1000 per day, the production would likely be
      complete by around April 21.

             As stated above, the defendants are already in possession of the unprivileged
      emails surrounding January 6 and the privilege issues surrounding those documents have
      already been briefed and argued to the Court. In light of this, we submit that the
      defendants would not be unduly prejudiced from a reasonable extension of the review
      schedule for the remaining materials.




                                                         Sincerely,

                                                         /s/ Charles Burnham

                                                         Charles Burnham
